
MAY, J.
This case comes to us upon remand from the Supreme Court of Florida. Pratt v. Weiss, 161 So.3d 1268 (Fla.2015). We, previously affirmed, a trial court order, in which the trial court found an offer of judgment complied with the requirements of section 768.79, Florida Statutes (2004). The supreme court has now quashed our decision and held that the offer failed to *947comply with section 768.79 and rule 1.442 of the Florida Rules of Civil Procedure. For the reasons expressed in the supreme court’s decision, we now reverse the trial court order and remand the ease for further proceedings.

Reversed and Remanded,

GROSS and DAMOORGIAN, JJ., concur.
